Case 3:24-cv-00119-HTW-ASH Document 24 Filed 06/17/24 Page 1 of 3

SOUTHERN DISTRICT OF MISSISSIPPI

FILED

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF MISSISSIPPI | | JUN 17 2024

NORTHERN DIVISION
ARTHUR JOHNSTON
Gi OEPUTY

CHARLES ALLEN

V. CIVIL ACTION NO. 3:24-CV-119-HTW-ASH
SOUTHERN ELECTRIC CORPORATION OF DEFENDANTS
MISSISSIPPI, ET AL.

ORDER

Plaintiff Charles Allen filed this lawsuit alleging age discrimination and various state-law
claims in Rankin County Circuit Court on January 30, 2024. Defendant Southern Electric
Corporation of Mississippi removed the case to this Court on February 29, 2024. On April 11,
2024, Allen filed a voluntary petition for bankruptcy relief under Chapter 7 of the Bankruptcy
Code, and on April 24, 2024, he notified this Court of that filing. As is its standard practice when
a suggestion of bankruptcy is filed, on April 29, 2024, the Court entered a Text-Only Order
staying the case. On May 10, 2024, Plaintiff filed a motion [21] asking the Court to rescind that
order, and on May 17, 2024, the Bankruptcy Trustee filed a Ratification Agreement [22] in
which she “hereby ratifies the commencement of the action filed by Charles Edward Allen herein
and agrees to be bound by any judgment entered or settlement obtained by the Plaintiff.”
Ratification Agreement [22] at 1. She also agrees that she “will not seek any additional recovery
from [Defendants] arising out of the events or claims made herein in any other lawsuit or any
other judicial, arbitration or administrative proceeding.” Jd. at 2.

Federal Rule of Civil Procedure 17(a) governs the determination of a party’s standing to
bring suit as the real party in interest and states: “An action must be prosecuted in the name of
the real party in interest.” Fed. R. Civ. P. 17(a)(1). Its purpose “is to assure a defendant that a

judgment will be final and that res judicata will protect it from having to twice defend an action.”
Case 3:24-cv-00119-HTW-ASH Document 24 Filed 06/17/24 Page 2 of 3

Wieburg v. GTE Sw., Inc., 272 F.3d 302, 306 (Sth Cir. 2001) (quoting Farrell Constr. Co. v.
Jefferson Parish, 896 F.2d 136, 140 (5th Cir. 1990)). The real party in interest is the person or
entity who holds the substantive right to the claim. Jd. When claims arise before the filing of a
bankruptcy petition, those claims are the property of the bankruptcy estate, and “the Trustee is
the real party in interest with exclusive standing to assert them.” Jd.
Rule 17(a)(3) explains that

[t]he court may not dismiss an action for failure to prosecute in the

name of the real party in interest until, after an objection, a

reasonable time has been allowed for the real party in interest to

ratify, join, or be substituted into the action. After ratification,

joinder, or substitution, the action proceeds as if it had been
originally commenced by the real party in interest.

This provision “provides that formal joinder or substitution of the real party in interest will not
be necessary when [the real party in interest] ratifies commencement of the action.” Big John,
B.V. v. Indian Head Grain Co., 718 F.2d 143, 147 (5th Cir. 1983). “[P]roper ratification requires
[the] ratifying party to authorize [the] continuation of [the] action and agree to be bound by [the]
result.” Wieburg, 272 F,3d at 307 (citing Naghiu v. Inter-Cont’l Hotels Grp., Inc., 165 F.R.D.
413, 421 (D. Del. 1996)).

The ratification agreement here “fulfills both of the requirements for valid ratification.”
Jenkins v. Wright & Ferguson Funeral Home, 215 F.R.D. 518, 522 (S.D. Miss. 2003). Shaffer
authorized the continuation of this case in Allen’s name and agreed to be bound by the results of
this case. The Ratification Agreement therefore satisfies Rule 17(a)’s purpose as explained by
the Wieburg court: Defendants are “assured that the judgment in this case will be final and that
res judicata will protect [them] from having to defend against [Allen’s] claims in separate causes
of action.” Jd. The “Ratification Agreement was a valid transfer to [Allen] of the right to

prosecute this [case] in [his] own name.” Jd. Further, Shaffer has now procured and filed an
Case 3:24-cv-00119-HTW-ASH Document 24 Filed 06/17/24 Page 3 of 3

order from Bankruptcy Judge Wilson confirming that “the automatic stay imposed by 11 U.S.C.
§ 362(a) does not apply to the claims asserted by [Allen] in [this] District Court Case.” Order
Approving Motion for Clarification of Automatic Stay [23]. Thus, the Court grants Allen’s
motion [21], accepts the Ratification Agreement [22], rescinds the April 29, 2024 Text-Only
Order, and lifts the stay.

SO ORDERED AND ADJUDGED this the 17th day of June, 2024.

s/ Andrew S. Harris
UNITED STATES MAGISTRATE JUDGE

